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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                              )
                                                    )
EARNEST STRONG, JR.                                 )         CHAPTER 13
                                                    )
                                                    )         CASE NO.: 18-58250-LRC
         DEBTOR.                                    )

                                       MOTION TO DISMISS

         Melissa J. Davey, Trustee in the above styled matter, respectfully shows the Court as follows:

      1.      Pursuant to Debtor Chapter 13 Plan confirmed on May 17, 2019, Debtor is required to
make payments in the amount of $760.00 to the Trustee.

        2.      Debtor has failed to make the payments due under the Plan. The total amount due
under the Plan is $18,760.00. Debtor has only paid a total of $14,490.00, resulting in a delinquency in
the amount of $4,270.00 in violation of 11 U.S.C. §§1307(c)(1) and 1307(c)(6).

       3.      Debtor's Plan will exceed 60 months in violation of 11 U.S.C. §§1307(c)(1) and
1307(c)(6); see also 11 U.S.C. §1322(d).

      Wherefore, Trustee respectfully requests that this case be dismissed pursuant to 11 U.S.C.
§1307(c).

Dated: July 23, 2020                                    Prepared and Presented by:

                                                        /s/
                                                        Delaycee Rowland
                                                        Attorney for Chapter 13 Trustee
                                                        GA Bar No. 773359
                                                        260 Peachtree Street, NW, Suite 200
                                                        Atlanta, GA 30303
                                                        (678) 510-1444 Phone
                                                        (678) 510-1450 Fax
                                                        mail@13trusteeatlanta.com
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                              )
                                                    )
EARNEST STRONG, JR.                                 )       CHAPTER 13
                                                    )
                                                    )       CASE NO.: 18-58250-LRC
         DEBTOR.                                    )

                     NOTICE OF HEARING ON MOTION TO DISMISS

           PLEASE TAKE NOTICE that Melissa J. Davey, Standing Chapter 13 Trustee, has filed
a Motion to Dismiss and related papers with the Court.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion to
Dismiss in at the U.S Courthouse, Richard B. Russell Building, 75 Ted Turner Drive S.W.,
Courtroom 1204, Atlanta, Georgia 30303-3367 at 9:45 AM on August 25, 2020. Given the
current public health crisis, hearings may be telephonic only. Please check the "Important
Information Regarding Court Operations During COVID-19 Outbreak" tab at the top of the
GANB Website prior to the hearing for instructions on whether to appear in person or by
phone.

         Your rights may be affected by the Court's ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.) If you do not want to Court to grant the relief
sought in these pleadings or if you want the Court to consider your views, then you and/or your attorney
must attend the hearing. You may also file a written response to the pleading with the Clerk at the
address stated below, but you are not required to do so. If you file a written response, you must attach
a certificate stating when, how, and on whom (including addresses) you served the response. Mail or
deliver your response so that it is received by the Clerk at least two business days before the hearing.
The address of the Clerk's Office is 1340 U.S. Courthouse (and Richard B. Russell Federal
Building), 75 Ted Turner Drive S.W., Atlanta, GA 30303-3367. You may also mail a copy of your
response to the undersigned at the address stated below.
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                                            /s/
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                              )
                                                    )
EARNEST STRONG, JR.                                 )        CHAPTER 13
                                                    )
                                                    )        CASE NO.: 18-58250-LRC
         DEBTOR.                                    )

                                   CERTIFICATE OF SERVICE

         This is to certify that I have on this day electronically filed the foregoing Motion to Dismiss
together with the Notice of Hearing on the Motion to Dismiss using the Bankruptcy Court’s Electronic
Case Filing program, which sends a notice of this document and an accompanying link to this document
to the following parties who have appeared in this case under the Bankruptcy Court’s Electronic Case
Filing program:

Heather D. Bock heather.bock@mccalla.com,
bankruptcyecfmail@mccalla.com;BankruptcyECFMail@mrpllc.com;mccallaecf@ecf.courtdrive.com
A. Michelle Hart Ippoliti Michelle.ippoliti@mccalla.com, bankruptcyecfmail@mccalla.com
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mkaTR74878@notify.bestcase.com;eisenlawfirm@gmail.com

        I further certify that on this day I caused a copy of this document to be served via United States
First Class Mail with adequate postage prepaid on the following parties set forth below at the address
shown for each.

DEBTOR(S):

Earnest Strong, Jr.
4112 Mistymorn Lane
Powder Springs, GA 30127
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                                            /s/
                                            Delaycee Rowland
                                            Attorney for Chapter 13 Trustee
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